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1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
2

3     UNITED STATES OF AMERICA,
                                                      Criminal Action
4                    Plaintiff,                       No. 1:23-cr-0343

5             vs.                                     Washington, DC
                                                      October 12, 2023
6     CHARLES EDWARD LITTLEJOHN,
                                                      3:15 p.m.
7                 Defendant.
      __________________________/
8

9                    TRANSCRIPT OF PLEA AGREEMENT HEARING
                      BEFORE THE HONORABLE ANA C. REYES
10                       UNITED STATES DISTRICT JUDGE

11
      APPEARANCES:
12
      For the Government:         LAUREN CASTALDI
13                                JENNIFER CLARKE
                                   U.S. Department of Justice
14                                 Criminal Division
                                   1301 New York Ave, NW, 10th Floor
15                                 Washington, DC 20004

16
      For the Defendant:          LISA MANNING
17                                 Schertler, Onorato, Mead & Sears
                                   555 13th Street, NW, Suite 500 West
18                                 Washington, DC 20004

19

20    Also Present:               ALINA HABBA, for Donald J. Trump

21

22
      Court Reporter:             JEFF HOOK
23                                  Official Court Reporter
                                    U.S. District & Bankruptcy Courts
24                                  333 Constitution Avenue, NW
                                    Room 4700-C
25                                  Washington, DC 20001
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1                           P R O C E E D I N G S

2                DEPUTY CLERK:     This is criminal action 23-343,

3     United States of America v. Charles Edward Littlejohn.

4     Would the parties please come forward and identify

5     themselves for the record.

6                MS. CASTALDI:     Good afternoon, Your Honor.        Laura

7     Castaldi and Jennifer Clarke for the United States.

8                THE COURT:    Good afternoon.

9                THE DEFENDANT:     Good afternoon, Your Honor.

10    Charles Edward Littlejohn.

11               MS. MANNING:     Good afternoon, Your Honor.         Lisa

12    Manning on behalf of Mr. Littlejohn.

13               THE COURT:    All right.

14               MS. MANNING:     And, Your Honor, if I may, I have a

15    colleague with me who is pending admission before this

16    Court, he's a member in good standing of the D.C. bar.            May

17    I ask the Court if he may sit at counsel table?

18               THE COURT:    Of course, yes.     Yes, of course.      Who

19    is it?

20               MS. MANNING:     His name is Noah Cherry, and as soon

21    as he's admitted he will enter his appearance.

22               THE COURT:    Okay.    Hello, Mr. Cherry.

23               MR. CHERRY:     Hello, Your Honor.

24               THE COURT:    You're up in the big leagues now.         All

25    right.   Counsel, Mr. Littlejohn, I understand from your
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1     attorney that you wish to plead guilty?

2                THE DEFENDANT:     Yes, Your Honor.

3                THE COURT:    Okay.    Could you please come up, I

4     have some questions I need to ask you.         Anything from the

5     government before I start?

6                MS. CASTALDI:     No, Your Honor.

7                THE COURT:    All right, thank you.      Mr. Littlejohn,

8     I must ask you certain questions to ensure that you

9     understand your rights, and that this plea is voluntary.           If

10    you don't understand any of my questions, please let me know

11    and I will make them clear, okay.

12               Could you please swear in the defendant,

13    Ms. White.

14               DEPUTY CLERK:     Yes, Your Honor.

15         Please raise your right hand.        Do you solemnly swear or

16    affirm that you will well and truly answer all questions

17    propounded to you by the Court, so help you God?

18               THE DEFENDANT:     I do.

19               DEPUTY CLERK:     Thank you.

20               THE COURT:    All right.    Mr. Littlejohn, because

21    I've put you under oath, if you testify falsely, you could

22    be prosecuted for perjury or for making a false statement.

23    Do you understand that?

24               THE DEFENDANT:     I do, Your Honor.

25               THE COURT:    What is your date of birth, sir?
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1                THE DEFENDANT:     It's March 14th, 1985.

2                THE COURT:    How far did you go in school?

3                THE DEFENDANT:     Bachelor's degree.

4                THE COURT:    From?

5                THE DEFENDANT:     University of North Carolina at

6     Chapel Hill.

7                THE COURT:    What date did you graduate?

8                THE DEFENDANT:     2007.

9                THE COURT:    Have you taken any drugs or

10    medications or anything else in the last two days that might

11    make it difficult for you to follow these Court proceedings?

12               THE DEFENDANT:     No, Your Honor.

13               THE COURT:    Okay.    Were you born in the United

14    States?

15               THE DEFENDANT:     Yes, Your Honor.

16               THE COURT:    Does counsel for either side have any

17    question as to the defendant's competence to enter a plea at

18    this time?

19               MS. CASTALDI:     Not from the government, Your

20    Honor.

21               MS. MANNING:     No, Your Honor.

22               THE COURT:    Your attorney tells me, sir, that

23    instead of going to trial, you wish to plead guilty to the

24    offense of unauthorized disclosure of tax returns and return

25    information under 26 U.S.C. 7213(a)(1); is that correct?
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1                THE DEFENDANT:     Yes, Your Honor.

2                THE COURT:    And, Ms. Manning, I believe that you

3     have a signature of the plea agreement in the case?

4                MS. MANNING:     Yes, Your Honor.

5                THE COURT:    Could you please show it to

6     Mr. Littlejohn.     Mr. Littlejohn, can you please check that

7     what Ms. Manning has given you is your plea agreement and

8     that that is your signature?

9                THE DEFENDANT:     It is, Your Honor.

10               THE COURT:    Did you read and understand this

11    agreement before signing it?

12               THE DEFENDANT:     Yes, Your Honor.

13               THE COURT:    And is this the agreement that you

14    wish to enter?

15               THE DEFENDANT:     Yes, Your Honor.

16               THE COURT:    Okay.    Ms. Manning, could you hand

17    that up to Ms. White, please.       All right.    Sir, I'm going to

18    go over the terms unrelated to sentencing, then I will

19    discuss the sentencing terms.       Among the non-sentencing

20    terms are that if you plead guilty, you're going to agree to

21    forfeit the property used to commit the offense, including

22    at least the 12 items listed on pages 13 to 14 of the

23    agreement.

24               Do you understand that?

25               THE DEFENDANT:     Yes, Your Honor.
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1                THE COURT:    All right.    I will now go over the

2     sentencing terms.     The maximum sentence you could receive on

3     the charge of unauthorized disclosure of tax returns and

4     return information, 26 U.S.C. 7213(a)(1), is five years of

5     imprisonment, a fine of $5,000, three years of supervised

6     release, a $100 special assessment, an order of restitution,

7     and an obligation to pay any applicable interest or

8     penalties on fines or restitution not timely made.

9                Do you understand that?

10               THE DEFENDANT:     I do, Your Honor.

11               THE COURT:    Do you understand that this crime is

12    subject to certain sentencing guidelines?

13               THE DEFENDANT:     Yes, Your Honor.

14               THE COURT:    Have you discussed with your attorney

15    how they might apply in this case?

16               THE DEFENDANT:     Yes, Your Honor.

17               THE COURT:    The U.S. sentencing guidelines in this

18    case have been estimated to be between eight and 14 months

19    of imprisonment.     That range is based on the parties'

20    estimates that the guidelines offense level is 11 before any

21    new amendments to the guidelines come into effect.              In this

22    case, the parties may seek a variance or a sentence outside

23    of the stipulated guidelines range of eight to 14 months of

24    imprisonment.

25               Do you understand that I do not know today
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1     precisely what guideline range your sentence might fall

2     into, and I won't know until after I've reviewed the

3     presentence report?

4                 THE DEFENDANT:    Yes, Your Honor.

5                 THE COURT:   Do you also understand that this

6     sentencing range is where I must start in determining your

7     sentence?

8                 THE DEFENDANT:    Yes, Your Honor.

9                 THE COURT:   But I don't have to end there?

10                THE DEFENDANT:    Yes, Your Honor.

11                THE COURT:   Do you understand that I can sentence

12    you anywhere within the range or above the range as long as

13    I do not exceed the statutory maximum?

14                THE DEFENDANT:    Yes, Your Honor.

15                THE COURT:   So to be absolutely clear, the

16    statutory maximum is five years and I could sentence you to

17    five years.    Do you understand that?

18                THE DEFENDANT:    I understand, Your Honor.

19                THE COURT:   In prison?

20                THE DEFENDANT:    Yes.

21                THE COURT:   Okay.    Has anybody promised you what

22    sentence I will actually give in this case?

23                THE DEFENDANT:    No, Your Honor.

24                THE COURT:   All right.    Has anyone made any

25    promises to you other than the ones that I have just
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1     mentioned to you to get you to plead guilty?

2                THE DEFENDANT:     No, Your Honor.

3                THE COURT:    Have you had enough time to talk with

4     your attorney?

5                THE DEFENDANT:     Yes, Your Honor.

6                THE COURT:    And are you satisfied with her

7     services as your lawyer?

8                THE DEFENDANT:     Yes, Your Honor.

9                THE COURT:    The plea agreement also contains

10    another document which sets forth what the government would

11    have proved had this case gone to trial.

12               Ms. Manning, do you have that to show him?

13               MS. MANNING:     Yes, Your Honor, it is in front of

14    him.

15               THE COURT:    All right.    This is the statement of

16    facts.   This also appears to bear your signature, sir.         Can

17    you review that and tell me if that is in fact your

18    signature?

19               MS. MANNING:     Your Honor, that was an addendum

20    that we signed earlier, and I believe the Court has the

21    original copy.

22               THE COURT:    He doesn't have a signed copy?

23               MS. MANNING:     The original factual basis for the

24    plea was incorporated into the plea agreement, so we had

25    only signed the plea agreement itself with this document
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1     incorporated.    And I believe the government earlier

2     submitted to chambers a signed addendum that was signing to

3     acknowledge the factual basis for the plea.

4                THE COURT:    Okay.     Why don't we make this easy,

5     does he have it in front of him?

6                MS. MANNING:     Yes.

7                THE COURT:    Can he sign that now?      You've reviewed

8     this, correct?

9                THE DEFENDANT:     Yes, Your Honor.

10               THE COURT:    Just give it a quick review to make

11    sure it's what you saw previously.

12               MS. MANNING:     Your Honor, would you like me to

13    sign it as well?

14               THE COURT:    Sure.     Ms. Castaldi, I think you have

15    to sign it as well.     All right.     Could you please hand that

16    to Ms. White.    Thank you.

17               All right.    Sir, you've signed the factual basis

18    for the plea.    Do you agree that the information contained

19    in this factual basis, which you have signed, did in fact

20    occur?

21               THE DEFENDANT:     Yes, Your Honor.

22               THE COURT:    Which is to say, that between or

23    around August 2019 and October 2019, you, without

24    authorization, disclosed to a journalist at a news

25    organization the tax return and return information for a
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1     high-ranking government official and related entities and

2     individuals that you had taken from an IRS database.

3                 Do you agree that that's what occurred?

4                 THE DEFENDANT:     I do, Your Honor.

5                 THE COURT:    All right.    Who was the high-ranking

6     government official?

7                 THE DEFENDANT:     Donald J. Trump.

8                 THE COURT:    So this was while he was in office,

9     right?

10                THE DEFENDANT:     Correct.

11                THE COURT:    And what was the news organization

12    that you gave his returns to?

13                THE DEFENDANT:     The New York Times.

14                THE COURT:    All right.    And you also have said

15    that in or about September 2020, you contacted a second news

16    organization and, without authorization, gave it a copy of

17    the data on the nation's wealthiest taxpayers that you had

18    stolen from the IRS; is that correct?

19                THE DEFENDANT:     That's correct, Your Honor.

20                THE COURT:    All right.    And what was the second

21    organization?

22                THE DEFENDANT:     ProPublica.

23                THE COURT:    And there were hundreds, if not over a

24    thousand, taxpayers that this happened to -- or that you did

25    this to?
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1                 THE DEFENDANT:     Correct, Your Honor.

2                 THE COURT:    Okay.   Was it over a thousand, do you

3     know?

4                 THE DEFENDANT:     Yes, Your Honor.

5                 THE COURT:    All right.    I now want to go over the

6     rights that you are giving up by pleading guilty.           Do you

7     understand that you are not required to plead guilty, and

8     that you have a right to go to trial on the charges if you

9     want to?

10                THE DEFENDANT:     Yes, Your Honor.

11                THE COURT:    Do you understand that you are

12    pleading to an information and waiving your right to

13    prosecution by indictment?

14                THE DEFENDANT:     Yes, Your Honor.

15                THE COURT:    If you went to trial, the government

16    would have to prove you guilty beyond a reasonable doubt,

17    and they would have to convince 12 jurors to unanimously

18    convict you.     Do you understand that?

19                THE DEFENDANT:     Yes, Your Honor.

20                THE COURT:    And by unanimously, what that means is

21    12 jurors would be here.       If even one found you not guilty,

22    there would be a mistrial and you would be in -- you would

23    not be found guilty at that point.        Do you understand that?

24                THE DEFENDANT:     I do, Your Honor.

25                THE COURT:    All right.    You would have the right
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1     to have your lawyer with you throughout the trial.           She

2     could make motions, make objections and cross-examine all of

3     the government's witnesses.       Do you understand?

4                 THE DEFENDANT:     I do, Your Honor.

5                 THE COURT:    You also would have the right to

6     present a defense and put on evidence on your behalf if you

7     wished, but you would not be required to put on any evidence

8     at all because you would be presumed innocent.          Do you

9     understand that?

10                THE DEFENDANT:     I do, Your Honor.

11                THE COURT:    In addition, you could testify if you

12    chose to, but nobody could force you to do so, because you

13    would have an absolute right to remain silent at your trial,

14    and I would instruct the jury that they could not hold that

15    against you.     Do you understand that?

16                THE DEFENDANT:     Yes, Your Honor.

17                THE COURT:    If you are found guilty at your trial,

18    you would have the right to appeal.        If you could not afford

19    a lawyer on your appeal, a lawyer would be appointed to

20    represent you.     Do you understand that?

21                THE DEFENDANT:     Yes, Your Honor.

22                THE COURT:    Do you understand that if I accept

23    your plea, there will be no trial and no appeal except in

24    the circumstances that I am about to mention?

25                THE DEFENDANT:     Yes, Your Honor.
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1                 THE COURT:    The only ways you could appeal or seek

2     relief from a court would be if the government appeals from

3     the sentence; if I sentenced you above the statutory

4     maximum -- which I'm telling you right now will not happen;

5     if I sentence you above the guidelines range or impose an

6     upward departure pursuant to the guidelines; if you claim

7     you had received ineffective assistance of counsel in this

8     criminal case; or if there are new legal principles from the

9     D.C. Circuit or U.S. Supreme Court decided after the date of

10    this plea agreement that the D.C. Circuit or U.S. Supreme

11    Court holds shall have a retroactive effect.          Those would be

12    the only basis to seek relief.        Do you understand that?

13                THE DEFENDANT:     Yes, Your Honor.

14                THE COURT:    So I just want to make sure you're

15    absolutely clear, if I accept this plea, as soon as I accept

16    it, there is no appeal of the guilty finding, that's it,

17    you're done?

18                THE DEFENDANT:     I do understand that, Your Honor.

19                THE COURT:    Do you understand that if I accept

20    your plea, you may be deprived of valuable civil rights such

21    as the right to vote, the right to hold certain jobs, the

22    right to serve on a jury and the right to possess any kind

23    of firearm?

24                THE DEFENDANT:     Yes, Your Honor.

25                THE COURT:    Understanding all the rights that you
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1     are giving up by pleading guilty, do you still want to plead

2     guilty?

3                 THE DEFENDANT:     I do, Your Honor.

4                 THE COURT:    Do you have any questions about what

5     rights you're giving up or anything else connected to this

6     plea of guilty?

7                 THE DEFENDANT:     No, Your Honor.

8                 THE COURT:    Are you pleading guilty because you

9     are in fact guilty?

10                THE DEFENDANT:     Yes, Your Honor.

11                THE COURT:    Has anyone forced you or threatened

12    you to get you to plead guilty?

13                THE DEFENDANT:     No, Your Honor.

14                THE COURT:    Okay.   You may be seated.      Before I go

15    on to accept or not accept this plea, are there any victims

16    or their representatives here today that would like to

17    exercise their rights to be reasonably heard under the

18    Crimes Victims' Right Act?

19                MS. HABBA:    Yes, Your Honor.

20                THE COURT:    Please come up.

21                MS. HABBA:    Thank you, Your Honor, for the

22    opportunity to be heard.       As an attorney, I find that I

23    should probably state I am not licensed in this state, in

24    the District of Columbia.       I'm here on behalf of President

25    Trump who was a victim, as we just heard, of this atrocity.
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1     This was an egregious breach --

2                 THE COURT:    Ma'am, I'm sorry, could you just

3     introduce yourself?

4                 MS. HABBA:    Oh, excuse me, yes.     Alina Habba.

5     This was an egregious breach by an agent of the IRS who

6     targeted the President of the United States, among others,

7     for political purposes and personal gain.         As we just heard

8     in the statement of facts read into the record, President

9     Trump's returns were turned over to the New York Times right

10    before an election.      As I also learned today, his were

11    turned over before everybody else's.

12                His returns were kept in a vault at the IRS

13    because they were so sought after.        A government agency and

14    its contractors and employees have no business stealing the

15    personal data of American citizens in reckless disregard,

16    let alone the then-sitting President.         This likely cost my

17    client thousands of votes and was all by design.           Political

18    motivation has no place in policing agencies or the justice

19    system.    That is a clear example of using the press to

20    influence and interfere with an election.         And I ask this

21    Court to send a strong message that this type of conduct

22    will not be tolerated.

23                Further, we do not believe that this is limited to

24    this individual.     He worked for Booz Allen Hamilton, a known

25    government contracted agency, which hires CIA assets and
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1     most notably Edward Snowden.        This was not a one-man job.

2     There should be further investigation by the Department of

3     Justice into what other individuals and entities were a part

4     of this atrocious betrayal of public trust.          Accordingly, on

5     behalf of President Trump, I am opposing any plea deal be

6     offered to Mr. Littlejohn -- for the defendant, which in any

7     way minimizes his sentence given the severity of his

8     actions.    In the alternative, if the Court does agree to a

9     plea agreement, we are requesting the maximum sentence for

10    Mr. Littlejohn.

11                Thank you for your time, Your Honor.

12                THE COURT:    All right.    Well, ma'am, I'm not going

13    to sentence him today, as you know.

14                MS. HABBA:    I know.

15                THE COURT:    There will be a separate sentencing,

16    and if you wish or Mr. Trump wishes to be heard there, of

17    course he can be heard there.

18                MS. HABBA:    I appreciate that, Your Honor.

19                THE COURT:    I agree completely that people taking

20    the law into their own hands for any purpose is

21    unacceptable.     This country does not work if we take laws

22    into our own hands because we disagree with someone who is

23    in power.    Ma'am, you can be seated.

24                MS. HABBA:    Thank you.

25                THE COURT:    And everyone can be well assured that
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1     there will be severe consequences to this illegal act.           You

2     know -- well, let me accept the plea, and then I have a

3     couple of thoughts.

4                 Mr. Littlejohn, how do you plead on the charge of

5     unauthorized disclosure of tax returns and return

6     information under 26 U.S.C. 7213(a)(1), guilty or not

7     guilty?

8                 THE DEFENDANT:     Guilty, Your Honor.

9                 THE COURT:    All right.    You can be seated, sir.       I

10    am satisfied that the defendant understands his rights and

11    what he is waiving in agreeing to plead guilty.           I find that

12    this waiver of the right to appeal his sentence, as

13    explained in the plea agreement and here today, was knowing

14    and voluntary.     I find that he is entering his plea

15    voluntarily.     I find that there is a factual basis for the

16    plea.

17                With respect to the statement that we just heard,

18    I see no basis not to accept his plea.         Accepting his plea

19    does not mean that if others are found to have participated,

20    they won't also be processed as the DOJ feels is

21    appropriate.     So I therefore accept defendant's plea and

22    find him guilty of unauthorized disclosure of tax returns

23    and return information, 26 U.S.C. 7213(a)(1).

24                A written presentence report will be prepared by

25    the probation office to assist me in sentencing.           You will
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1     be asked to give information for the report, and your

2     attorney may be present if you wish.         You may read the

3     report before the sentencing hearing, and you and your

4     attorney will have an opportunity to speak at the sentencing

5     hearing.

6                 Do you understand all that, sir?

7                 THE DEFENDANT:     I do, Your Honor.

8                 THE COURT:    All right.    So ironically, when I went

9     and looked at the history of the privacy of IRS reports, I

10    came across a decision by my colleague and good friend,

11    Judge McFadden.     And it was Committee on Ways and Means,

12    U.S. House of Representatives vs. U.S. Department of the

13    Treasury, including -- Mr. Trump was associated in that case

14    as a -- well, he was associated with the case, because the

15    case concerned whether or not his tax returns could be

16    disclosed by the Committee on Ways and Means.          And the case

17    cite is 575 F.Supp.3d 53, D.D.C. 2021.

18                Congress first levied an income tax in 1862, and

19    that was at the height of the civil war.         At that time, the

20    returns were public, and they were often actually posted at

21    various places.     As everyone can imagine, there was swift

22    pushback on that law, and the law ended up lapsing.              And we

23    didn't get back to an income tax until the 16th Amendment to

24    the Constitution.     And since then, there have been various

25    tax laws and various amendments to those tax laws dealing
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1     with taxpayer privacy.

2                 The tax reform law that we are dealing with today

3     was passed in 1976.      Interestingly enough it was passed,

4     because earlier, members of the Nixon White House had

5     obtained IRS records, including tax returns, for many of

6     Nixon's -- President Nixon's political opponents.           The House

7     Judiciary Committee heard evidence that President Nixon

8     himself had improperly accessed IRS tax returns, and the

9     House committee proposed an article of impeachment alleging

10    that President Nixon had violated the constitutional rights

11    of taxpayers.     And Congress addressed these concerns in the

12    Tax Reform Act of 1976 which established a comprehensive

13    statutory scheme for disclosing tax records.          And in

14    general, tax records, absent limited exceptions, shall be

15    confidential.     And as we have seen today, unauthorized

16    disclosure of tax returns is a felony punishable by up to

17    five years in prison.

18                Now, the Committee on Ways and Means ultimately

19    got permission to disclose -- or it was found that they

20    could, by the courts, disclose his tax returns, and his tax

21    returns -- President Trump's tax returns were legally

22    disclosed from his 2015 to 2020 tax returns.          This is how we

23    do things in this country.       We have laws.    We have people

24    who might disagree how those laws should be interpreted, and

25    when they disagree they come to a court.         And a court
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1     decides how to interpret that law and what is permitted and

2     what is not permitted.

3                 When we have people, for whatever reason, take the

4     law into their own hands, society doesn't function

5     correctly.    And it's not up to any individual person to

6     decide what law they want to violate or what law they want

7     to follow.    And it doesn't matter who the person is who is

8     the victim of the crime.       It doesn't matter what anyone

9     might believe about that person or not believe about that

10    person.    Every single taxpayer -- and not just Mr. Trump,

11    but the thousand other people's tax returns who you

12    disclosed to news organizations with the expectation that

13    they would be made public had a statutory right to privacy

14    in their tax returns.

15                And this isn't something that the country has done

16    on a whim.    It's important that there be privacy in tax

17    returns, because otherwise people are less likely to be

18    honest with the IRS.      And then that makes the IRS's job that

19    much more difficult to get the information it needs to

20    process taxes, taxes that we all use for society to

21    function.

22                I cannot overstate how troubled I am by what

23    occurred.    And you will have a sentencing, and I will review

24    the government's submissions for that sentencing.           I will

25    review your submission for that sentencing.          If you would
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1     like to talk at that sentencing, you're obviously more than

2     welcome to do so, and I will listen very carefully to you.

3     But make no mistake, this was not acceptable.          And if

4     there's anyone out there telling you it was acceptable

5     because the end justifies the mean and they think the end

6     was appropriate, they are wrong.

7                 All right, thank you everyone.       Government, anyone

8     want anything further?      All right.    Actually, I need a

9     sentencing date I'm told.       How much time do you all need?   I

10    think we usually take 90 days, right, Ms. White?

11                DEPUTY CLERK:    Yes, Your Honor.

12                MS. CASTALDI:    Whatever's available for the Court

13    is good for the government, Your Honor.

14                THE COURT:    Okay.    Where are we at 90 days?

15                DEPUTY CLERK:    That takes us to January 9th, Your

16    Honor, but we're in trial.        I'm looking for the next

17    available date.     January 23rd.

18                THE COURT:    How does January 23rd look for

19    everyone?

20                MS. CASTALDI:    Good for the government, Your

21    Honor.

22                MS. MANNING:    Your Honor, may I briefly approach?

23                THE COURT:    Uh-huh.    Oh, you want to approach

24    here?

25                MS. MANNING:    Yes.
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                                                                           22

1           (Discussion off the record)

2                 THE COURT:    All right.    What's the next week look

3     like, Ms. White?

4                 DEPUTY CLERK:    January 29th or 30th, Your Honor.

5                 THE COURT:    Do either of those work?

6                 MS. MANNING:    Yes, Your Honor, either date.

7                 MS. CASTALDI:    Yes, Your Honor.

8                 THE COURT:    All right.    Why don't we do -- what

9     day of the week is the 29th?

10                DEPUTY CLERK:    The 29th is a Monday, Your Honor.

11                THE COURT:    All right.    Why don't we do 10:00 a.m.

12    on January 29th.     And then I have a pretrial services

13    report, and I understand that you all have agreed on bond

14    conditions that I have here?

15                MS. CASTALDI:    Yes, Your Honor.

16                MS. MANNING:    I --

17                MS. CASTALDI:    Under the plea agreement, Your

18    Honor, the parties have agreed not to alter the current

19    status quo of the defendant's --

20                THE COURT:    Okay.    Well, here's the recommendation

21    I have from probation, and let me know if there's anything

22    that you all disagree with:        Not obtain a passport or other

23    international travel document; surrender all passports to

24    pretrial services; stay within the D.C. area; report as soon

25    as possible to pretrial services any contact with law
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1     enforcement personnel, including arrest, questioning or

2     traffic stops; obtain permission from the Court for any

3     travel outside of the continental United States; do not

4     possess firearms; verify your address with pretrial services

5     immediately or by tomorrow; report to pretrial services as

6     directed; avoid all contact, directly or indirectly, with

7     any person who is or may be a victim or witness in the

8     investigation or prosecution.

9                 Anything there that's problematic?

10                MS. CASTALDI:    No, Your Honor.

11                MS. MANNING:    Your Honor, may we approach again,

12    sorry?

13          (Discussion off the record)

14                THE COURT:    All right.    One sort of caveat on the

15    no contact with witnesses is, of course, Mr. Littlejohn can

16    speak with close friends and his family.         Is that

17    acceptable?

18                MS. MANNING:    Yes.   Thank you, Your Honor.

19                THE COURT:    All right.    Anything else that we need

20    to discuss today?

21                MS. CASTALDI:    Your Honor, two quick things.

22    First -- and I apologize if I missed it, I wanted to make

23    sure it was clear on the record that the defendant is aware

24    of his right to be charged by indictment and is waiving that

25    right.
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1                 THE COURT:    Oh, I thought we waived that.          Sir, do

2     you understand that you are -- have a right to be charged by

3     indictment, and that you are waiving that right -- or you

4     have waived that right?

5                 THE DEFENDANT:     I do, Your Honor.

6                 THE COURT:    Okay.

7                 MS. CASTALDI:    The other small thing, Your Honor,

8     is the plea agreement, in the terms of forfeiture, includes

9     a few personal identifiers that include contact information.

10    We would request the permission to redact those three

11    identifiers on the public record.

12                THE COURT:    Yeah, and I saw those redactions,

13    that's -- motion granted.

14                MS. CASTALDI:    Thank you, Your Honor.

15                THE COURT:    Okay.   Anything else, anybody?

16                MS. MANNING:    No, Your Honor.

17                THE COURT:    Ms. White, anything?

18                DEPUTY CLERK:    No, Your Honor.

19                THE COURT:    Okay.   Thank you, everyone.

20          (Proceedings adjourned at 3:42 p.m.)

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